              Case 3:21-cv-05502-LK-TLF Document 18 Filed 12/21/21 Page 1 of 8




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                                                                   The Honorable Lauren King
 8                                                                 Magistrate Theresa L. Fricke
 9                          UNITED STATES DISTRICT COURT
10                         WESTERN DISTRICT OF WASHINGTON
                                     AT TACOMA
11
     SABRINA MARIE KENDALL,                            NO. 3:21-cv-05502-LK-TLF
12
                              Plaintiff,               STATE DEFENDANTS’ ANSWER TO
13                                                     PRISONER CIVIL RIGHTS
14       v.                                            COMPLAINT

15   WASHINGTON DEPARTMENT OF                          AND JURY DEMAND
     CORRECTIONS, et. al.,
16
                              State
17   Defendants.
18

19
                                       I.    INTRODUCTION
20
               Defendants WASHINGTON STATE DEPARTMENT OF CORRECTIONS, an agency
21
     of the state of Washington, STEPHEN SINCLAIR, DEBORAH “JO” WOFFORD, LISA
22
     ANDERSON-LONGANO, M.D., and PAUL CLARK (collectively State Defendants), in answer
23
     to Plaintiff's complaint, admit, deny, and allege as follows as to each sequentially numbered
24
     paragraph beginning on page 12:
25

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     STATE DEFENDANTS’ ANSWER TO PRISONER         1                  OFFICE OF THE ATTORNEY GENERAL
     CIVIL RIGHTS COMPLAINT                                               1250 Pacific Avenue, Suite 105
                                                                                 P.O. Box 2317
     No. 3:21-cv-05502-LK-TLF                                                  Tacoma, WA 98401
                                                                                 (253) 593-5243
           Case 3:21-cv-05502-LK-TLF Document 18 Filed 12/21/21 Page 2 of 8




 1                                II.     NATURE OF THE ACTION
 2                  State Defendants ADMIT that Plaintiff is asserting causes of action pursuant to
 3   the Americans with Disabilities Act of 1990 (ADA), the Rehabilitation Act of 1973, and 42
 4   U.S.C. § 1983, but DENY all other allegations contained in paragraph 1.
 5                  State Defendants ADMIT that Plaintiff is currently incarcerated at the
 6   Washington Corrections Center for Women (WCCW), that she was previously temporarily
 7   transferred to the custody of Yakima County for a portion of her penal sentence, and that she has
 8   at times experienced health conditions that were addressed with a wheelchair, but DENY all
 9   other allegations contained in paragraph 2.
10                               III.   JURISDICTION AND VENUE
11                  State Defendants ADMIT that Plaintiff is asserting causes of action pursuant to
12   the ADA, the Rehabilitation Act of 1973, and 42 U.S.C. § 1983, but are without sufficient
13   knowledge or information to form a belief as to the truth of the remaining allegations contained
14   in paragraph 3 and therefore DENY the same.
15                  State Defendants ADMIT the allegations contained in paragraph 4.
16
                                            IV.     PARTIES
17                  State Defendants ADMIT that Plaintiff is currently incarcerated at WCCW; the
18   remaining allegations contained in paragraph 5 constitute conclusions of law to which no
19   response is required, but to the extent one may be deemed necessary, State Defendants DENY
20   the same.
21                  State Defendants ADMIT the allegations contained in paragraph 6.
22                  State Defendants ADMIT the allegations contained in paragraph 7.
23                  State Defendants ADMIT that Stephen Sinclair is sued in his official capacity, is
24   a former Secretary of the Washington State Department of Corrections (DOC) and as such was
25   one of multiple civil servants responsible for the overall oversight, operation, and administration
26

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           Case 3:21-cv-05502-LK-TLF Document 18 Filed 12/21/21 Page 3 of 8




 1   of the State’s correctional system, but are without sufficient knowledge or information to form
 2   a belief as to the truth of the remaining allegations contained in paragraph 8, some of which are
 3   legal conclusions not requiring a response, and therefore DENY the same.
 4                  State Defendants are without sufficient knowledge or information to form a belief
 5   as to the truth of the allegations contained in paragraph 9 and therefore DENY the same.
 6                  State Defendants ADMIT that Deborah “Jo” Wofford is a Gender Responsive
 7   Administrator for DOC and was formerly a Superintendent at WCCW, but are without sufficient
 8   knowledge or information to form a belief as to the truth of the remaining allegations contained
 9   in paragraph 10 and therefore DENY the same.
10                  State Defendants ADMIT that Christina Freeburg is sued in her official capacity,
11   but are without sufficient knowledge or information to form a belief as to the truth of the
12   allegations contained in paragraph 11, some of which are legal conclusions not requiring a
13   response, and therefore DENY the same.
14                  State Defendants ADMIT that Lisa Anderson-Longano, M.D. was a Physician 3
15   at WCCW, but are without sufficient knowledge or information to form a belief as to the truth
16   of the remaining allegations contained in paragraph 12 and therefore DENY the same.
17                  State Defendants ADMIT that Paul Clark was a Health Services Manager 1 for
18   DOC, and has since been promoted to a Health Services Manager 3, but are without sufficient
19   knowledge or information to form a belief as to the truth of the remaining allegations contained
20   in paragraph 13 and therefore DENY the same.
21                                           V.         FACTS
22                  State Defendants are without sufficient knowledge or information to form a belief
23   as to the truth of the allegations contained in paragraph 14 and therefore DENY the same.
24                  State Defendants ADMIT that Plaintiff was furnished a bariatric wheelchair by
25   the State, but are without sufficient knowledge or information to form a belief as to the truth of
26   the remaining allegations contained in paragraph 15 and therefore DENY the same.

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           Case 3:21-cv-05502-LK-TLF Document 18 Filed 12/21/21 Page 4 of 8




 1                  DENY.
 2                  State Defendants ADMIT that on or about 26 July 2018, custody of Plaintiff was
 3   temporarily transferred from WCCW to the Yakima County, but are without sufficient
 4   knowledge or information to form a belief as to the truth of the remaining allegations contained
 5   in paragraph 17 and therefore DENY the same.
 6                  State Defendants are without sufficient knowledge or information to form a belief
 7   as to the truth of the allegations contained in paragraph 18 and therefore DENY the same.
 8                  State Defendants are without sufficient knowledge or information to form a belief
 9   as to the truth of the allegations contained in paragraph 19 and therefore DENY the same.
10                  State Defendants are without sufficient knowledge or information to form a belief
11   as to the truth of the allegations contained in paragraph 20 and therefore DENY the same.
12                  State Defendants are without sufficient knowledge or information to form a belief
13   as to the truth of the allegations contained in paragraph 21 and therefore DENY the same.
14                  State Defendants are without sufficient knowledge or information to form a belief
15   as to the truth of the allegations contained in paragraph 22 and therefore DENY the same.
16                  State Defendants ADMIT that Plaintiff authored a letter dated 18 August 2018
17   addressed to Stephen Sinclair and describing a variety of what she perceived to be safety
18   concerns in Yakima County facilities, but are without sufficient knowledge or information to
19   form a belief as to the truth of the remaining allegations contained in paragraph 23 and therefore
20   DENY the same.
21                  DENY.
22                  State Defendants are without sufficient knowledge or information to form a belief
23   as to the truth of the allegations contained in paragraph 25 and therefore DENY the same.
24                  State Defendants are without sufficient knowledge or information to form a belief
25   as to the truth of the allegations contained in paragraph 26 and therefore DENY the same.
26

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           Case 3:21-cv-05502-LK-TLF Document 18 Filed 12/21/21 Page 5 of 8




 1                 State Defendants are without sufficient knowledge or information to form a belief
 2   as to the truth of the allegations contained in paragraph 27 and therefore DENY the same.
 3                                         VI.     CLAIMS
 4                 To the extent paragraph 28 seeks to incorporate the assertions of prior paragraphs,
 5   State Defendants answer correspondingly to each as set forth above.
 6                 DENY.
 7                 To the extent paragraph 30 seeks to incorporate the assertions of prior paragraphs,
 8   State Defendants answer correspondingly to each as set forth above.
 9                 State Defendants ADMIT that DOC receives funding from the federal
10   government, but DENY all other allegations contained in paragraph 31.
11                 State Defendants are without sufficient knowledge or information to form a belief
12   as to the truth of the allegations contained in paragraph 32 and therefore DENY the same.
13                 To the extent paragraph 33 seeks to incorporate the assertions of prior paragraphs,
14   State Defendants answer correspondingly to each as set forth above.
15                 DENY.
16                 DENY.
17                 To the extent paragraph 36 seeks to incorporate the assertions of prior paragraphs,
18   State Defendants answer correspondingly to each as set forth above.
19                 DENY.
20                 DENY.
21
                                    VII.   RELIEF DEMANDED
22                 State Defendants DENY that Plaintiff is entitled to any of the relief sought by the
23   second paragraph numbered 1.
24                 State Defendants DENY that Plaintiff is entitled to any of the relief sought by the
25   second paragraph numbered 2.
26

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           Case 3:21-cv-05502-LK-TLF Document 18 Filed 12/21/21 Page 6 of 8




 1                   State Defendants DENY that Plaintiff is entitled to any of the relief sought by the
 2   second paragraph numbered 3.
 3                                 VIII. AFFIRMATIVE DEFENSES
 4           By way of FURTHER ANSWER and FIRST AFFIRMATIVE DEFENSE, State
 5   Defendants allege that Plaintiff’s complaint has failed to state a claim upon which relief may be
 6   granted.
 7           By way of FURTHER ANSWER and SECOND AFFIRMATIVE DEFENSE, State
 8   Defendants allege that Plaintiff’s claims are barred by the statute of limitations.
 9           By way of FURTHER ANSWER and THIRD AFFIRMATIVE DEFENSE, State
10   Defendants allege that that if Plaintiff suffered any damages, recovery therefor is barred or limited
11   by her failure to mitigate such damages.
12           By way of FURTHER ANSWER and FOURTH AFFIRMATIVE DEFENSE, State
13   Defendants allege that the State of Washington, its agencies and agents, including each of the
14   individual State Defendants, are not subject to civil suit for damages under the Eleventh
15   Amendment of the Constitution of the United States.
16           By way of FURTHER ANSWER and FIFTH AFFIRMATIVE DEFENSE, State
17   Defendants allege that the claims alleged under 42 U.S.C. § 1983 against each of Stephen Sinclair,
18   Deborah “Jo” Wofford, Lisa Anderson-Longano, M.D., and Paul Clark are barred by the doctrine
19   of qualified immunity.
20           By way of FURTHER ANSWER and SIXTH AFFIRMATIVE DEFENSE, State
21   Defendants allege that the injuries and damages claimed by Plaintiff were proximately caused by
22   the fault of a party for whom State Defendants are not responsible.
23           By way of FURTHER ANSWER and SEVENTH AFFIRMATIVE DEFENSE, State
24   Defendants allege that Plaintiff failed to file a claim against the State of Washington as required by
25   RCW 4.92.100 and 4.92.110 with respect to State law claims alleged.
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           Case 3:21-cv-05502-LK-TLF Document 18 Filed 12/21/21 Page 7 of 8




 1           By way of FURTHER ANSWER and EIGHTH AFFIRMATIVE DEFENSE, State
 2   Defendants allege that Plaintiff failed to exhaust her administrative remedies as required by the
 3   Prison Litigation Reform Act of 1996.
 4           WHEREFORE, State Defendants pray that Plaintiff’s complaint be dismissed with
 5   prejudice, that Plaintiff take nothing by her complaint, and that State Defendants be allowed their
 6   costs and reasonable attorney fees herein. In the event this case proceeds to trial, State Defendants
 7   demand that this case be tried to a jury.
 8           DATED this 21st day of December, 2021.
 9                                                ROBERT W. FERGUSON
                                                  Attorney General
10
                                                  s/Mark J. Rachel
11                                                MARK J. RACHEL, WSBA No. 54395
                                                  Assistant Attorney General
12                                                1250 Pacific Avenue, Suite 105
                                                  P.O. Box 2317
13                                                Tacoma, WA 98401 -2317
                                                  Telephone: (253) 593-5243
14                                                Fax: (253) 593-2449
                                                  E-mail: Mark.Rachel@atg.wa.gov
15                                                Attorney for State Defendants
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           Case 3:21-cv-05502-LK-TLF Document 18 Filed 12/21/21 Page 8 of 8




 1                                   DECLARATION OF SERVICE
 2          I declare that on this 21st day of December 2021, I caused the foregoing document to be

 3   electronically filed with the Clerk of the Court using the CM/ECF system which will send

 4   notification of such filing, and a copy was sent by U.S. mail, postage prepaid, to the following:

 5          Sabrina Marie Kendall, DOC #729655
            Washington Corrections Center for Women
 6          9601 Bujacich Road
            Gig Harbor, Washington 98332
 7
            DATED this 21st day of December 2021.
 8
                                                  ROBERT W. FERGUSON
 9                                                Attorney General
10
                                                  s/Mark J. Rachel
11                                                MARK J. RACHEL, WSBA No. 54395
                                                  Assistant Attorneys General
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                                                  Telephone: (253) 593-5243
14                                                Fax: (253) 593-2449
                                                  E-mail: Mark.Rachel@atg.wa.gov
15                                                Attorneys for State Defendants
16

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     STATE DEFENDANTS’ ANSWER TO                     8                    OFFICE OF THE ATTORNEY GENERAL
     PLAINTIFF’S COMPLAINT FOR DAMAGES                                         1250 Pacific Avenue, Suite 105
                                                                                      P.O. Box 2317
     AND JURY DEMAND                                                                Tacoma, WA 98401
     No. 3:21-cv-05625-RSL                                                            (253) 593-5243
